           Case 2:10-cr-00108-MCE Document 146 Filed 02/07/12 Page 1 of 2


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 6
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 8
                               UNITED STATES DISTRICT COURT
 9
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
     UNITED STATES OF AMERICA,                  )    No. 2:10-cr-00108-MCE
12                                              )
                          Plaintiff,            )
13                                              )    STIPULATION TO EXONERATE
                   vs.                          )    PROPERTY BOND AND RECONVEY
14                                              )    PROPERTY; AND ORDER THEREON
     RIGOBERTO RODRIGUEZ-                       )
15   VISCARRA,                                  )
                                                )
16                        Defendant.            )
     __________________________________________ )
17
18           IT IS HEREBY STIPULATED by and between the parties hereto, plaintiff United
19   States of America, and its attorney of record herein, Assistant U.S. Attorney, Phillip Allen
20   Talbert, and defendant Rigoberto Rodriguez-Viscarra, and his attorney Daniel A. Bacon,
21   that the property bond of $100,000.00, secured by a property set forth in the following
22   attached Deed of Trust with Assignments of Rents, be reconveyed to the respective
23   owners:
24           The Deed of Trust with Assignments of Rents, recorded on March 18, 2010, be
25   reconveyed to “Crisanto Rodriguez and Ofelia Rodriguez.” Said property is commonly
26   known as 12272 Albert Avenue, Orosi, California 93647-2604, and more particularly
27   described as
28   ///
         Case 2:10-cr-00108-MCE Document 146 Filed 02/07/12 Page 2 of 2


 1                   LOT 27 OF TRACT NO. 729, SIERRA ESTATES VII, IN THE
 2
 3   Rodriguez-Viscarra - Stipulation to Exonerate Property Bond, etc.

 4                   COUNTY OF TULARE, STATE OF CALIFORNIA, ACCORDING
                     TO THE MAP THEREOF RECORDED IN BOOK 38, PAGE 3
 5                   OF MAPS, TULARE COUNTY RECORDS
 6                   APN 021-320-073
 7
 8           DATED: 1/30/12                                   BENJAMIN B. WAGNER,
                                                              UNITED STATES ATTORNEY
 9
10
                                                              By /s/ Phillip Allen Talbert
11                                                              PHILLIP ALLEN TALBERT
                                                                Assistant U.S. Attorney
12                                                              Attorney for Defendant
13
14           DATED: 2/3/12                                    /s/ Daniel A. Bacon
                                                              DANIEL A. BACON
15                                                            Attorney for Defendant
16
17
                                                  ORDER
18
19           IT IS HEREBY ORDERED that the property bond be exonerated, and the clerk
20   of the Court be ordered to reconvey the property set forth above, which was used to
21   collateralize the bond, specifically, the following property 12272 Albert Avenue, Orosi,
22   California 93647-2604, to the following persons “Crisanto Rodriguez and Ofelia
23   Rodriguez.”
24
25    Dated: February 7, 2012

26
                                                     ______________________________
27
                                                     MORRISON C. ENGLAND, JR.
28                                                   UNITED STATES DISTRICT JUDGE




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